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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

IN RE: ZOFRAN (ONDANSETRON)         )               MDL No. 1:15-md-2657-FDS
PRODUCTS LIABILITY LITIGATION )
                                    )
                                    )               This document relates to:
____________________________________)               All Actions


       PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY RELEVANT
          TO GSK’S RENEWED MOTION FOR SUMMARY JUDGMENT
                     BASED ON FEDERAL PREEMPTION

       Plaintiffs respectfully submit the United States Court of Appeals for the Third Circuit’s

December 17, 2019 decision in In re: Avandia Marketing, Sales and Products Liability Litigation,

___ F.3d ___, at *1, No. 18-1010 (Dec. 17, 2019) as supplemental authority pertaining to GSK’s

Renewed Motion for Summary Judgment Based on Federal Preemption. A copy of the decision

is attached as Exhibit A.

       The Third Circuit’s decision in In re Avandia reiterates the standard for clear evidence

preemption in light of the Supreme Court’s decision in Merck Sharp & Dohme Corp. v. Albrecht.

Albrecht requires a drug manufacturer seeking preemption to set forth “evidence that shows the

court that the drug manufacturer fully informed the FDA of the justifications for the warning

required by state law and that the FDA, in turn, informed the drug manufacturer that the FDA

would not approve a change to the drug’s label to include that warning.” 139 S. Ct. 1668, 1672

(2019). The Third Circuit reversed the district court’s grant of summary judgment based on clear

evidence preemption, writing:

               GSK argues that it “fully informed” the FDA because GSK (1) provided all
       “material” information to the FDA and (2) did not have access to the information
       that the FDA requested until after the latter issued the Letter, but these arguments
       are unavailing. GSK concedes that the FDA requested additional data and
       information in the Letter, yet GSK argues that none of the data and information that
       the FDA actually requested in the Letter was “material” to its proposed warning on
       cardiac risk, and that therefore, the FDA was “fully informed” for purposes of
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        Merck. This argument turns the regulatory regime on its head. The FDA, not GSK,
        is the entity with power to approve or refuse a change to a drug’s label, and in
        making such a decision, it has the statutory authority to conclude that the data and
        tests submitted by a manufacturer were not “adequate” or that there is “insufficient
        information about the drug to determine whether the product is safe for use under
        the conditions prescribed, recommended, or suggested in its proposed labeling.” 21
        C.F.R. §§ 314.125(b)(2), (4). GSK is not the arbiter of which data and information
        is or is not “material” to the FDA’s decision to approve or reject a change to a
        drug’s label—the FDA, and only the FDA, can determine what information is
        “material” to its own decision to approve or reject a labelling change.

___ F.3d ___ In re: Avandia, at *17.1

        The Third Circuit continued: “if GSK wishes to rely on the Letter as proof that the FDA

rejected its proposed label change, it must also demonstrate that the FDA possessed all the

information it deemed necessary to decide whether to approve or reject the proposed warning at

the time it issued the Letter.” Id. at *18. Instead, “[a]t most, the Letter indicates that it is possible

that the FDA could have rejected the label change after receiving the various data and information

it requested from GSK, but as the Supreme Court has reiterated, the “possibility of impossibility

[is] not enough.” Id. at *19. Accordingly, GSK could not “demonstrate that the FDA was ‘fully

informed . . . of the justifications for the warning,’” and thus, the Third Circuit reversed the district

court’s grant of summary judgment based on clear evidence preemption. Id. at *18.

                                                        Respectfully submitted,

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 The FDA’s request to GSK for additional information in In re Avandia is strikingly similar to the
FDA’s request to GSK in this case for “full details” of animal reproductive studies in reviewing
Zofran’s labeling. See Pls. Resp. to GSK Mot. for Summary Judgment at 18.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Plaintiffs’ Notice of Supplemental Authority Relevant

to GSK’s Renewed Motion for Summary Judgment Based on Preemption, which was filed with

the Court through the CM/ECF system, will be sent electronically to all registered participants as

identified on the Notice of Electronic Filing and paper copies will be sent via first class mail to

those identified as non-registered participants.



                                                     /s/ Kimberly D. Barone Baden
                                                     Kimberly D. Barone Baden
